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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                          Case No. 21-cv-21079-BLOOM/Otazo-Reyes

 SECURITIES AND EXCHANGE
 COMMISSION,

          Plaintiff,

 v.

 MINTBROKER INTERNATIONAL, LTD.
 and GUY GENTILE,

       Defendants.
 ____________________________________/

          ORDER SETTING TRIAL AND PRE-TRIAL SCHEDULE, REQUIRING
      MEDIATION, AND REFERRING CERTAIN MATTERS TO MAGISTRATE JUDGE

          THIS CAUSE is set for trial during the Court’s two-week trial calendar beginning on

 October 24, 2022, at 9:00 a.m. Calendar call will be held at 1:45 p.m. on Tuesday, October 18,

 2022. No pre-trial conference will be held unless a party requests one at a later date and the Court

 determines that one is necessary. Unless instructed otherwise by subsequent order, the trial and all

 other proceedings in this case shall be conducted in Courtroom 10-2 at the Wilkie D. Ferguson,

 Jr. United States Courthouse, 400 North Miami Avenue, Miami, FL 33128. The parties shall

 adhere to the following schedule:

      December 29, 2021    Parties exchange initial disclosures pursuant to Fed. R. Civ. P. 26(a)(1).
                           The parties are reminded that pursuant to S.D. Fla. L.R. 26.1(b), initial
                           disclosures shall not be filed with the Court unless an exception noted in
                           the Local Rules applies.

  January 5, 2022          The parties shall select a mediator pursuant to Local Rule 16.2, shall
                           schedule a time, date, and place for mediation, and shall jointly file a
                           notice, and proposed order scheduling mediation via CM/ECF in the
                           form specified on the Court’s website, http://www.flsd.uscourts.gov. If
                           the parties cannot agree on a mediator, they shall notify the Clerk in
                           writing as soon as possible, and the Clerk shall designate a certified
                           mediator on a blind rotation basis. Counsel for all parties shall familiarize
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                            themselves with and adhere to all provisions of Local Rule 16.2. Within
                            three (3) days of mediation, the parties are required to file a mediation
                            report with the Court. Pursuant to the procedures outlined in the CM/ECF
                            Administrative Procedures, the proposed order is also to be emailed to
                            bloom@flsd.uscourts.gov in Word format.

  February 14, 2022         All motions to amend pleadings or join parties are filed.

  May 31, 2022              Parties disclose experts and exchange expert witness summaries or
                            reports.

  June 14, 2022             Parties exchange rebuttal expert witness summaries or reports.

  June 28, 2022             All discovery, including expert discovery, is completed.

  July 12, 2022             Parties must have completed mediation and filed a mediation report.

  July 20, 2022             All pre-trial motions, motions in limine, and Daubert motions (which
                            include motions to strike experts) are filed. This deadline includes all
                            dispositive motions.

  October 10, 2022          Parties submit joint pre-trial stipulation in accordance with Local Rule
                            16.1(e), proposed jury instructions and verdict form, or proposed findings
                            of fact and conclusions of law, as applicable.

        Motions in limine. Each party is limited to filing one motion in limine. If all evidentiary

 issues cannot be addressed in a 20-page memorandum, leave to exceed the page limit will be

 granted. The parties are reminded that motions in limine must contain the Local Rule

 7.1(a)(3) certification.

        Daubert Motions. Each party is limited to filing one Daubert motion. If all evidentiary

 issues cannot be addressed in a 20-page memorandum, leave to exceed the page limit will be

 granted. The parties are reminded that Daubert motions must contain the Local Rule 7.1(a)(3)

 certification.

        Summary Judgment Motions. The parties are reminded that strict compliance with Local

 Rule 56.1 is mandated. Pursuant to Local Rule 56.1(a)(2), a statement of material facts must be

 supported by specific references to pleadings, depositions, answers to interrogatories, admissions,




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 and affidavits on file with the Court. In the event a responding party fails to controvert a movant’s

 supported material facts in an opposing statement of material facts, the movant’s material facts

 will be deemed admitted. Local Rule 56.1(b). In the interest of judicial economy, in the interest

 of proper and careful consideration of each party’s statement of material facts, and in the interest

 of determining matters on summary judgment on the merits, the Court orders the parties to file any

 statements of material facts as follows:

            1. The moving party shall file a statement of material facts as a separate filing from a

                motion for summary judgment.

            2. Each material fact in the statement that requires evidentiary support shall be set

                forth in an individually numbered paragraph and supported by a specific citation.

                This specific citation shall reference pages (and paragraph or line numbers, if

                applicable) of the cited exhibit(s). When a material fact requires evidentiary

                support, a general citation to an exhibit, without a page number or pincite, is

                not permitted.

            3. Each exhibit referenced in the motion for summary judgment and/or in the

                statement of material facts must be filed on the docket. Exhibits which have already

                been filed on the docket need not be refiled. If a deposition transcript is referenced,

                a complete copy must be filed which includes all exhibits. Within twenty-four

                (24) hours of filing a motion for summary judgment, the movant shall separately

                file an index of the cited exhibits which names each exhibit and references the

                docket entry at which that exhibit may be found.

            4. The responding party may file an opposing statement of material facts which

                responds to the moving party’s statement of material facts. A responding party’s




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             opposing statement of material facts must specifically respond to each statement in

             the movant’s statement by setting forth each of the individually numbered

             paragraphs contained in the movant’s statement and after each paragraph, detail

             respondent’s response or opposition. By way of example:

             Movant’s Statement of Material Facts

             1. Blackacre is a vacant property located at 123 Main Street. Exhibit A ¶ 1.

             2. John Smith owns Blackacre. Exhibit B ¶ 12.

             Respondent’s Opposing Statement of Material Facts

             1. Blackacre is a vacant property located at 123 Main Street. Exhibit A ¶ 1.
                Admitted that Blackacre is located at 123 Main Street. Exhibit A ¶ 1. Denied
                that the property is vacant. Exhibit C at 5.

             2. John Smith owns Blackacre. Exhibit B ¶ 12.
                Denied as phrased. Admitted that the last recorded deed to Blackacre names
                John Smith. Exhibit B ¶ 12.

          5. Each exhibit referenced in the response to the motion for summary judgment and/or

             in the opposing statement of material facts must be filed on the docket. Exhibits

             which have already been filed on the docket need not be refiled. If a deposition

             transcript is relied upon, a complete copy must be filed which includes all exhibits.

             Within twenty-four (24) hours of filing a response to the motion for summary

             judgment, the responding party shall separately file an index of the cited exhibits

             which names each exhibit and references the docket entry at which that exhibit may

             be found.

          6. In the event that cross motions for summary judgment are filed, the Court may

             order the parties to submit a consolidated statement of material facts and responses

             as appropriate. If cross motions are anticipated, the parties may jointly move for an



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                 order to file consolidated statements prior to filing the motions for summary

                 judgment.

        Jury Instructions and Verdict Form (if applicable). The parties shall submit their

 proposed jury instructions and verdict form jointly, although they need not agree on each proposed

 instruction. Where the parties do not agree on a proposed instruction, that instruction shall be set

 forth in bold type. Instructions proposed only by a plaintiff shall be underlined. Instructions

 proposed only by a defendant shall be italicized. Every instruction must be supported by citation

 to authority. The parties shall use as a guide the Eleventh Circuit Pattern Jury Instructions for Civil

 Cases, including the directions to counsel contained therein. Proposed jury instructions and verdict

 form, in typed form, including substantive charges and defenses, shall be submitted to the Court

 prior to calendar call, in Word format, via e-mail to bloom@flsd.uscourts.gov. Instructions for

 filing proposed documents may be viewed at http://www.flsd.uscourts.gov.

        Referral to Magistrate Judge. Pursuant to 28 U.S.C. § 636 and this District’s Magistrate

 Judge Rules, all discovery matters are referred to Judge Alicia M. Otazo-Reyes. Furthermore,

 pursuant to 28 U.S.C. § 636(c)(1), the parties may consent to trial and final disposition by Judge

 Otazo-Reyes. The deadline for submitting consent is July 20, 2022.

        Discovery. The parties may stipulate to extend the time to answer interrogatories, produce

 documents, and answer requests for admissions. The parties shall not file with the Court notices

 or motions memorializing any such stipulation unless the stipulation interferes with the deadlines

 set forth above. Stipulations that would so interfere may be made only with the Court’s approval.

 See Fed. R. Civ. P. 29. To the extent not abrogated or contradicted by this Order, all agreements

 and stipulations entered into between the parties prior to this Order continue to bind the parties.

 The Court reminds the parties that under the Local Rules, initial and expert disclosures; deposition




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 transcripts; interrogatories; requests for documents, electronically stored information or things, or

 to permit entry upon land; requests for admission; notices of taking depositions or notices of

 serving subpoenas; and associated responses, objections, notices or any associated proof of service,

 shall not be filed until they are used in the proceeding or the court orders their filing. S.D.

 Fla. L.R. 26.1(b). Improper filings will be stricken from the record. In addition to the documents

 enumerated in Local Rule 26.1(b), the parties shall not file notices of deposition with the Court.

 The parties must make every effort to resolve discovery disputes without requiring Court

 intervention. Strict compliance with the Local Rules is expected.

        Discovery Disputes. If parties are unable to resolve their discovery disputes without Court

 intervention, Magistrate Judge Otazo-Reyes will set the matter for hearing without the need for

 filing a motion. The moving party must seek relief within fifteen (15) days after the occurrence of

 the grounds for relief by contacting Judge Otazo-Reyes’ Chambers and requesting a hearing.

 Magistrate Judge Otazo-Reyes’ telephone number is (305) 523-5740 and her Chambers are located

 at 301 N. Miami Avenue, 10th Floor, Miami, Florida. Once a hearing date is obtained, the movant

 shall provide notice to all relevant parties by filing a Notice of Hearing. The Notice of Hearing

 shall briefly specify the substance of the discovery matter to be heard and include a certification

 that the parties have complied with the pre-filing conference required by Southern District of

 Florida Local Rule 7.1(a)(3). No written discovery motions, including motions to compel and

 motions for protective order, shall be filed unless requested by Magistrate Judge Otazo-Reyes. It

 is the intent of this procedure to minimize the necessity of motions.

        The Court expects all parties to act courteously and professionally in the resolution of their

 discovery disputes and to confer in an attempt to resolve the discovery issue prior to requesting




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 the hearing. The Court may impose sanctions, monetary or otherwise, if the Court determines

 discovery is being improperly sought or is not being provided in good faith.

         Civility and Professionalism. Members of the bar and the Court are proud of the long

 tradition of courteous practice in the Southern District of Florida. Indeed, it is a fundamental tenet

 of this Court that attorneys in this District be governed at all times by a spirit of cooperation,

 professionalism, and civility. For example, and without limiting the foregoing, it remains the

 Court’s expectation that counsel will seek to accommodate their fellow practitioners, including in

 matters of scheduling, whenever reasonably possible and that counsel will work to eliminate

 disputes by reasonable agreement to the fullest extent permitted by the bounds of zealous

 representation and ethical practice.

         To that end, the Court advises the parties that strict compliance with the requirements of

 Local Rule 7.1(a)(3) is expected. In addition, if a motion for extension of time is opposed, this

 Court requires that the certificate of conferral state briefly the reason(s) for opposing counsel’s

 objection to the requested extension.

         The parties are further advised that the failure to comply with any of the procedures

 contained in this Order or the Local Rules may result in the imposition of appropriate sanctions,

 including, but not limited to, the dismissal of this action or entry of default.

         DONE AND ORDERED in Chambers at Miami, Florida, on December 15, 2021.



                                                            _________________________________
                                                            BETH BLOOM
                                                            UNITED STATES DISTRICT JUDGE

 Copies to:

 Counsel of Record




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